       Case 1:25-cv-01120-DLF   Document 29    Filed 04/23/25   Page 1 of 22




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,

                                  Plaintiff,
                                                No. 1:25-cv-01120-DLF
v.

U.S. DEPARTMENT OF EDUCATION, et al.,




                                Defendants.

     AMICUS BRIEF OF STUDENTS FOR FAIR ADMISSIONS IN OPPOSITION TO
            PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
           Case 1:25-cv-01120-DLF                              Document 29                   Filed 04/23/25                  Page 2 of 22




                                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................................................... ii
STATEMENT OF INTEREST AND SUMMARY OF ARGUMENT ................................................. 1
ARGUMENT ..................................................................................................................................................... 3
I.            Federal law prohibits racial discrimination in education. ............................................................. 3
II.     The Letter and FAQ accurately reflect the prohibition on racial discrimination under the
Equal Protection Clause and Title VI. ............................................................................................................ 7
III.          Plaintiff badly misreads the guidance documents. ...................................................................... 10
IV.           The guidance does not violate the Constitution’s guarantee of equal protection. ................. 13
CONCLUSION ............................................................................................................................................... 16
CERTIFICATE OF COMPLIANCE .......................................................................................................... 18
CERTIFICATE OF SERVICE ..................................................................................................................... 19
           Case 1:25-cv-01120-DLF                               Document 29                    Filed 04/23/25                  Page 3 of 22




                                                       TABLE OF AUTHORITIES

Cases
Brown v. Board of Education,
  347 U.S. 483 (1954) ....................................................................................................................................... 4
Grutter v. Bollinger,
  539 U.S. 306 (2003) ..................................................................................................................................... 13
Janus v. AFSCME,
   585 U.S. 878 (2018) ..................................................................................................................................... 13
Parents Involved in Community Schools. v. Seattle School District No. 1,
  551 U.S. 701 (2007) ............................................................................................................................... 13-14
Pleasant Grove City, Utah v. Summum,
   555 U.S. 460 (2009) ..................................................................................................................................... 13
R.A.V. v. City of St. Paul,
  505 U.S. 377 (1992) ..................................................................................................................................... 12
Rice v. Cayetano,
   528 U.S. 495 (2000) ....................................................................................................................................... 1
Rumsfeld v. FAIR,
  547 U.S. 47 (2006)........................................................................................................................................ 12
Schuette v. BAMN,
   572 U.S. 291 (2014) ............................................................................................................................... 15-16
Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,
   600 U.S. 181 (2023) ............................................................................................................................... passim
Statutes
42 U.S.C. §2000d ................................................................................................................................................ 4
Other Authorities
Press Release, NAACP (June 29, 2023) .......................................................................................................... 2
Constitutional Provisions
U.S. Const. amend. XIV, §1.............................................................................................................................. 3




                                                                                ii
       Case 1:25-cv-01120-DLF              Document 29           Filed 04/23/25     Page 4 of 22




             STATEMENT OF INTEREST AND SUMMARY OF ARGUMENT
        Students for Fair Admissions is a nonprofit dedicated to defending human and civil rights

secured by law, including the right to be free from discrimination on the basis of race in higher-

education admissions. SFFA is a membership group of more than 20,000 students, parents, and others

who believe that racial classifications and preferences in college admissions are unfair, unnecessary,

and unconstitutional. SFFA was the plaintiff in the landmark case challenging the use of race in ad-

missions by Harvard College and the University of North Carolina. See Students for Fair Admissions, Inc.

v. President & Fellows of Harvard Coll., 600 U.S. 181 (2023).1

        SFFA has a strong interest in this case. Students for Fair Admissions is one of the most important

civil rights cases in the Supreme Court’s history. It reaffirmed one of our country’s “foundational

principle[s]—the absolute equality of all citizens of the United States politically and civilly before their

own laws.” Id. at 201 (cleaned up). The Court recognized that “the Constitution is color blind,” id. at

204, and that all “racial discrimination in public education”—including race-based admissions pro-

grams practiced at many universities—is illegal under the Constitution and Title VI. Id. at 204, 230-

31. As the Court explained, “[d]istinctions between citizens solely because of their ancestry are by their

very nature odious to a free people whose institutions are founded upon the doctrine of equality.” Id.

at 208 (quoting Rice v. Cayetano, 528 U.S. 495, 517 (2000)). There is thus no room for “benign” racial

preferences: “Eliminating racial discrimination means eliminating all of it.” Id. at 206.

        The Department of Education has issued guidance documents—including a Dear Colleague

Letter and Frequently Asked Questions—that do nothing more than “explain[] and reiterate[] existing

legal requirements” after Students for Fair Admissions. Letter at 1, https://perma.cc/A584-8S8S. These



        1
         No counsel for any party authored this brief in whole or in part, and no party or counsel for
any party contributed money to fund the preparation or submission of this brief. See Fed. R. App. P.
29(a)(4)(E). No corporation owns 10% or more of Students for Fair Admissions’ stock. See Fed. R.
App. P. 29(a)(4)(A).

                                                     1
       Case 1:25-cv-01120-DLF             Document 29         Filed 04/23/25      Page 5 of 22




documents explain, among other things, that all racial classifications are subject to “‘strict scrutiny.’”

Id. at 2 (quoting SFFA, 600 U.S. at 207). An individual’s race “‘may never be used against him’ and

‘may not operate as a stereotype’ in governmental decision-making.” Id. (quoting SFFA, 600 U.S. at

218). And the only interest that is “sufficiently compelling in the educational context to justify race-

based preferences [is] ‘remediating specific, identified instances of past discrimination that violated

the Constitution or a statute’ committed by the specific educational institution in question.” FAQ at

3 (quoting SFFA, 600 U.S. at 207), perma.cc/43EZ-ME6A. Nothing in these guidance documents

should be controversial after Students for Fair Admissions.

        Plaintiff believes that Students for Fair Admissions was wrongly decided; that much is clear. When

the decision was released, the NAACP accused the Supreme Court of “bow[ing] to the personally held

beliefs of an extremist minority,” adding that the NAACP would not “allow hate-inspired people in

power to turn back the clock and undermine our hard-won victories” nor “be deterred [or] silenced

in our fight to hold leaders and institutions accountable for their role in embracing diversity no matter

what.” Press Release, NAACP (June 29, 2023), https://perma.cc/E8WZ-F3B7.

        Having lost at the Supreme Court, Plaintiff has adopted a new tact: obtain a nationwide in-

junction that prohibits the federal government from enforcing the decision. To obtain this relief, the

Plaintiff engages in a wildly overblown misreading of the guidance documents. According to the Plain-

tiff, the guidance documents restrict how teachers may speak “about systemic racism and racial ine-

quality” and ban, among other things, “truthful, inclusive curricula, that afford pedagogical and social-

emotional benefits” and “programs and policies that combat racial discrimination and foster a sense

of belonging.” Mot. at 1, 11-12. Plaintiff even charges that the guidance documents deny its members

“an equal opportunity to compete for admission to selective programs.” Mot. at 1. None of these

assertions are remotely true. Search the guidance documents from front to back: They do not say what

the Plaintiff says they say.



                                                     2
        Case 1:25-cv-01120-DLF             Document 29         Filed 04/23/25        Page 6 of 22




        Plaintiff’s overblown fears have no basis in the text of the guidance documents. Its motion

should be denied.

                                              ARGUMENT
        Plaintiff’s lawsuit is badly flawed for all the reasons laid out by the United States. Plaintiff lacks

standing because neither the organization nor its members are injured by the guidance documents. It

lacks a cause of action because it does not challenge a final agency action. The guidance documents

do not violate the Administrative Procedure Act or infringe on anyone’s constitutional rights. And the

Plaintiff fails on the equities. Its requested relief is especially problematic. This Court cannot enjoin

the enforcement of the nation’s civil rights laws over highly speculative assertions of chilled speech.

        In this amicus brief, SFFA focuses on why the guidance documents (the Letter and the FAQ)

are in line with the Equal Protection Clause and Title VI. SFFA discusses the requirements of federal

law, and the implications of Students for Fair Admissions. SFFA then explains how the Letter and FAQ

accurately capture the state of the law. SFFA concludes by showing why Plaintiff’s fears that the en-

forcement of civil rights law will inhibit their ability to speak and teach freely are unjustified, and why

Plaintiff’s equal protection claim is baseless.

I.      Federal law prohibits racial discrimination in education.
        Under the Fourteenth Amendment to the United States Constitution, no State shall “deny to

any person ... the equal protection of the laws.” U.S. Const. amend. XIV, §1. The Equal Protection

Clause represents a “foundational principle—the absolute equality of all citizens of the United States

politically and civilly before their own laws.” SFFA, 600 U.S. at 201 (cleaned up). It provides “every

American citizen, without regard to color, the protecting shield of law.” Id. at 202 (cleaned up).

“[W]ithout this principle of equal justice, … there is no republican government and none that is really

worth maintaining.” Id. (cleaned up). “The broad and benign provisions of the Fourteenth Amend-

ment apply to all persons … ; it is hostility to race and nationality which in the eye of the law is not

justified.” Id. (cleaned up).


                                                      3
       Case 1:25-cv-01120-DLF            Document 29          Filed 04/23/25      Page 7 of 22




        Brown v. Board of Education proclaimed that the right to public education “must be made avail-

able to all on equal terms.” 347 U.S. 483, 493 (1954). Brown and subsequent Supreme Court decisions

“vindicate[d] the Constitution’s pledge of racial equality.” SFFA, 600 U.S. at 205. “These decisions

reflect the core purpose of the Equal Protection Clause: doing away with all governmentally imposed

discrimination based on race.” Id. at 206 (cleaned up).

        Enacted a decade after Brown, Title VI of the Civil Rights Act provides, “No person in the

United States shall, on the ground of race, color, or national origin, be excluded from participation in,

be denied the benefits of, or be subjected to discrimination under any program or activity receiving

Federal financial assistance.” 42 U.S.C. §2000d. “[D]iscrimination that violates the Equal Protection

Clause of the Fourteenth Amendment committed by an institution that accepts federal funds also

constitutes a violation of Title VI.” SFFA, 600 U.S. at 198 n.2 (quotation marks omitted). Thus, Title

VI extends the prohibition on racial discrimination contained in the Fourteenth Amendment to all

schools that receive federal funds, public and private. Id.

        Students for Fair Admissions built on Brown’s legacy, recognizing that “the Constitution is color

blind,” id. at 204, and that all “racial discrimination in public education”—including the race-based

admissions programs practiced at “[m]any universities”—is unconstitutional. Id. at 204, 230-31 (quo-

tation marks omitted). SFFA held that both Harvard’s and the University of North Carolina’s use of

race in admissions violated the Equal Protection Clause and Title VI. Id. at 230. Both Harvard and

UNC used a multi-stage admissions process that considered an applicant’s race at every step of the

process, including the admissions decisions themselves. See id. at 192-97. SFFA sued Harvard and

UNC, arguing that their “race-based admissions programs violated” Title VI and the Fourteenth

Amendment. Id. at 197-98.

        In ruling for SFFA, the Court reiterated its precedent that any use of race in admissions “must

survive a daunting two-step … ‘strict scrutiny,’” and that “only two compelling interests” can justify



                                                    4
       Case 1:25-cv-01120-DLF              Document 29       Filed 04/23/25       Page 8 of 22




it: “remediating specific, identified instances of past discrimination that violated the Constitution or a

statute,” or “avoiding imminent and serious risks to human safety in prisons.” Id. at 206-07. Even with

a compelling interest, “race-based state action” is permitted only “in the most extraordinary case.” Id.

at 208. The Court examined Harvard’s and UNC’s race-based admissions under this standard and held

that they failed it for multiple reasons. Id. at 213-25.

        First, Harvard and UNC failed to justify their consideration of race by identifying compelling

interests capable of being “subjected to meaningful judicial review.” Id. at 214. The Court rejected all

of Harvard’s and UNC’s asserted interests, including:

            •   “‘training future leaders in the public and private sectors,’”
            •   “preparing graduates to ‘adapt to an increasingly pluralistic society,’”
            •   “‘better educating its students through diversity,’”
            •   “‘producing new knowledge stemming from diverse outlooks,’”
            •   “‘promoting the robust exchange of ideas,’”
            •   “‘broadening and refining understanding,’”
            •   “‘fostering innovation and problem-solving,’”
            •   “‘preparing engaged and productive citizens and leaders,’”
            •   “‘enhancing appreciation, respect, and empathy,’”
            •   “‘cross-racial understanding,’” and
            •   “‘breaking down stereotypes.’”

Id. None of these goals was “sufficiently coherent for purposes of strict scrutiny.” Id.

        Second, Harvard and UNC did not justify their use of race by “articulat[ing] a meaningful

connection between the means they employ and the goals they pursue.” Id. at 215. Specifically, it was

not “evident … how assigning students to these racial categories and making admissions decisions

based on them furthers the educational benefits that the universities claim to pursue.” Id. at 216. Har-

vard’s and UNC’s racial categories of “Asian” and “Hispanic,” for example, were too “imprecise” and

thus “undermin[e]” rather than “promot[e]” the Universities’ purported interests. Id. at 216-17.




                                                     5
       Case 1:25-cv-01120-DLF             Document 29          Filed 04/23/25    Page 9 of 22




        Third, Harvard and UNC “used [race] as a ‘negative’” factor in admissions. Id. at 218. Because

“[c]ollege admissions are zero-sum,” a “benefit provided to some applicants but not to others neces-

sarily advantages the former group at the expense of the latter.” Id. at 218-19. This violates the Equal

Protection Clause even if it impacts only “some … of the students they admit.” Id. at 219.

        Fourth, Harvard and UNC used race “as a stereotype.” Id. at 218. “The point of [their] admis-

sions programs [was] that there is an inherent benefit in … race for race’s sake.” Id. at 220. For exam-

ple, “Harvard’s admissions process rest[ed] on the pernicious stereotype that ‘a black student can

usually bring something that a white person cannot offer,’” and UNC argued that “race in itself ‘says

[something] about who you are.’” Id.

        Fifth, Harvard’s and UNC’s use of race was a form of prohibited racial balancing. Id. at 221-

24. While Harvard and UNC did not identify strict numerical benchmarks of minority student admis-

sions, they sought “proportional representation” by seeking a “rough percentage of various racial

groups.” Id. Harvard’s admissions officers also would review aggregate admissions data providing a

“breakdown of applicants by race” during the admissions process so they could “‘trac[k] how each

class is shaping up relative to previous years.’” Id. at 194, 222.

        Sixth, Harvard’s and UNC’s use of race lacked a “‘logical end point.’” Id. at 221. It was impos-

sible to know when considering race was no longer necessary to obtain the “educational benefits of

diversity.” Id. at 224. Harvard and UNC couldn’t even identify a sunset date. Id. at 225. The Court also

rejected Harvard’s and UNC’s argument that “universities are ‘owed deference’” in their determination

that they must “us[e] race to benefit some applicants but not others.” Id. at 217. Harvard and UNC

could not simply say, “‘trust us,’” but needed to provide “an exceedingly persuasive justification that

is measurable and concrete enough to permit judicial review.” Id.

        In invalidating the Harvard and UNC admissions programs, the Court agreed with SFFA that

universities may consider “an applicant’s discussion of how race affected his or her life, be it through



                                                     6
      Case 1:25-cv-01120-DLF            Document 29         Filed 04/23/25       Page 10 of 22




discrimination, inspiration, or otherwise.” Id. at 230. But “universities may not simply establish

through application essays or other means the regime” the Supreme Court held unlawful. Id. “What

cannot be done directly cannot be done indirectly. The Constitution deals with substance, not shad-

ows, and the prohibition against racial discrimination is levelled at the thing, not the name.” Id.

(cleaned up).

II.    The Letter and FAQ accurately reflect the prohibition on racial discrimination under
       the Equal Protection Clause and Title VI.
       The guidance documents issued by the Department of Education are fully in accord with the

Equal Protection Clause, Title VI, and the Supreme Court’s decision in Students for Fair Admissions.

       The Dear Colleague Letter. The Dear Colleague Letter does nothing more than “clarify and

reaffirm the nondiscrimination obligations of schools and other entities that receive federal financial

assistance from the United States Department of Education.” Letter at 1. Because the Plaintiff distorts

what the Letter actually says, SFFA identifies some of the key quotations:

           •    “‘[C]lassifying and assigning students based on their race’ is lawful only if it satisfies
                ‘strict scrutiny,’ which means that any use of race must be narrowly tailored—that is,
                ‘necessary—to achieve a compelling interest.” Letter at 2 (quoting SFFA, 600 U.S. at
                207).

           •    “[T]he Supreme Court has recognized only two interests as compelling in the context
                of race-based action: (1) ‘remediating specific, identified instances of past discrimina-
                tion that violated the Constitution or a statute’; and (2) ‘avoiding imminent and serious
                risks to human safety in prisons, such as a race riot.’” Id. (quoting SFFA, 600 U.S. at
                207).

           •    “Nebulous concepts like racial balancing and diversity are not compelling interests….
                ‘[A]n individual’s race may never be used against him’ and ‘may not operate as a stere-
                otype’ in governmental decision-making.’” Id. (quoting SFFA, 600 U.S. at 218)

           •    “Although SFFA addressed admissions decisions, the Supreme Court’s holding ap-
                plies more broadly. At its core, the test is simple: If an education institution treats a
                person of one race differently than it treats another person because of that person’s
                race, the educational institution violates the law.” Id.

           •    Federal law “prohibits covered entities from using race in decisions pertaining to ad-
                missions, hiring, promotion, compensation, financial aid, scholarship, prizes, adminis-
                trative support, discipline, housing, graduation ceremonies, and all other aspects of


                                                    7
      Case 1:25-cv-01120-DLF             Document 29         Filed 04/23/25       Page 11 of 22




                student, academic, and campus life. Put simply, educational institutions may neither
                separate or segregate students based on race, nor distribute benefits or burdens based
                on race.” Id.

            •   “[R]ace-based decisionmaking, no matter the form, remains impermissible.” Id.

            •   “Relying on non-racial information as a proxy for race, and making decisions based
                on that information, violates the law. That is true whether the proxies are used to grant
                preferences on an individual basis or a systematic one. It would, for instance, be un-
                lawful for an educational institution to eliminate standardized testing to achieve a de-
                sired racial balance or to increase racial diversity.” Id. at 3

            •   “Other programs discriminate in less direct, but equally insidious, ways. DEI pro-
                grams, for example, frequently preference certain racial groups and teach students that
                certain racial groups bear unique moral burdens that others do not. Such programs
                stigmatize students who belong to particular racial groups based on crude racial stere-
                otypes. Consequently, they deny students the ability to participate fully in the life of a
                school.” Id.

        The Letter warns that educational institutions should “(1) ensure that their policies and actions

comply with existing civil rights law; (2) cease all efforts to circumvent prohibitions on the use of race

by relying on proxies or other indirect means to accomplish such ends; and (3) cease all reliance on

third-party contractors, clearinghouses, or aggregators that are being used by institutions in an effort

to circumvent prohibited uses of race.” Id.

        Frequently Asked Questions. The following month, the Department issued its Frequently

Asked Questions in order to “anticipate and answer questions that may be raised in response” to its

Dear Colleague Letter. FAQ at 1. The FAQ correctly explains that, under SFFA, “Title VI is ‘coex-

tensive’ with the Equal Protection Clause of the Fourteenth Amendment. In other words, discrimina-

tion based on race, color, or national origin by a public institution that violates the Equal Protection

Clause of the Fourteenth Amendment also violates Title VI if committed by a private institution that

accepts federal funds, and vice versa.” FAQ at 2. The FAQ reaffirms that race may not be used as a

“‘stereotype or negative’” factor, and that to provide a benefit to a person because of the color of his

or her skin in any “competitive or zero-sum process would necessarily disadvantage those of a differ-




                                                    8
       Case 1:25-cv-01120-DLF             Document 29      Filed 04/23/25       Page 12 of 22




ent race.” Id. at 2, 5 (quoting SFFA, 600 U.S. at 218). “Likewise, schools may not administer scholar-

ships, prizes, or other opportunities offered by third parties based on race.” Id. at 5. To segregate

students based on race, including by providing separate “programming, graduation ceremonies, and

housing,” is also a violation of Title VI. Id.

        Asking whether DEI programs are unlawful under Students for Fair Admissions, the FAQ makes

clear that “whether an initiative constitutes unlawful discrimination does not turn solely on whether it

is labeled ‘DEI’ or uses terminology such as ‘diversity,’ ‘equity,’ or ‘inclusion.’” FAQ at 6. OCR’s

assessment of school policies and programs “depends on the facts and circumstances of each case.”

Id. Schools, of course, “may not operate policies or programs under any name that intentionally treat

students differently based on race, engage in racial stereotyping, or create hostile environments for

students of particular races.” Id. But the FAQ does not prohibit teachings or instruction dealing with

issues of race. For example, “schools with programs focused on interests in particular cultures, herit-

ages, and areas of the world would not in and of themselves violate Title VI, assuming they are open

to all students regardless of race. Nor would educational, cultural, or historical observances—such as

Black History Month, International Holocaust Remembrance Day, or similar events—that celebrate

or recognize historical events and contributions, and promote awareness, so long as they do not en-

gage in racial exclusion or discrimination.” Id.

        In the FAQ, the Department also asked whether the Letter “mean[s] that students, teachers

and school employees may not discuss topics related to race or DEI under Title VI.” Id. The Depart-

ment explained that “[n]othing in Title VI or its implementing regulations authorizes a school to re-

strict any rights otherwise protected by the First Amendment.” Id. Nor can the Department “exercis[e]

control over the content of school curricula.” Id. At the same time, schools have an “obligation[] to

refrain from creating hostile environments through race-based policies and stereotypes” and to “re-




                                                   9
       Case 1:25-cv-01120-DLF            Document 29        Filed 04/23/25       Page 13 of 22




spond to racial harassment that creates a hostile environment.” Id. Whether a “racially hostile envi-

ronment exists” depends on “the facts and circumstances of each case.” Id. For example, “an elemen-

tary school that sponsors programming that acts to shame students of a particular race or ethnicity,

accuse them of being oppressors in a racial hierarchy, ascribe to them less value as contributors to

class discussions because of their race, or deliberately assign them intrinsic guilt based on the actions

of their presumed ancestors or relatives in other areas of the world could create a racially hostile

environment, by interfering with or limiting the students’ ability to participate in or benefit from the

school’s program or activity.” Id. at 6-7.

III.    Plaintiff badly misreads the guidance documents.
        To try to establish standing, Plaintiff manufactures fears that have no basis in any fair reading

of the guidance documents. For example, Plaintiff fears that “accurate teaching of history” will subject

them to accusations of discrimination “merely because some students may feel guilt or shame in re-

sponse.” Mot. at 3-4. But teaching history obviously does not violate the Equal Protection Clause or

Title VI. Everyday classroom instruction—assuming it is “open to all students regardless of race”—

would never “create[] a hostile environment based on race.” FAQ at 6. Indeed, the FAQ explicitly

says that the Department is prohibited from “exercising control over the content of school curricula.”

Id. And “whether an initiative constitutes unlawful discrimination does not turn solely on whether it is

labeled ‘DEI’ or uses terminology such as ‘diversity,’ ‘equity,’ or ‘inclusion.’” FAQ at 6 (emphasis

added). Instead, the Department’s “assessment of school policies and programs depends on the facts

and circumstances of each case.” Id.

        Largely absent from the Plaintiff’s motion is the Department’s discussion of the practices they

are actually concerned with. The FAQ identifies the “extreme practices” that could create a hostile

environment under Title VI. They include:

        •   “requiring students to participate in ‘privilege walks’ that are designed to make them feel
            guilty about being part of a certain race,”


                                                   10
       Case 1:25-cv-01120-DLF             Document 29          Filed 04/23/25        Page 14 of 22




        •   “segregating [students] by race for presentations and discussions with guest speakers,”

        •   “pressuring [students] to participate in protests or take certain positions on racially charged
            issues,”

        •   “investigating or sanctioning [students] for dissenting on racially charged issues through
            DEI or similar university offices,”

        •   “mandating courses, orientation programs, or trainings that are designed to emphasize and
            focus on racial stereotypes,” and

        •   “assigning [students] coursework that requires them to identify by race and then complete
            tasks differentiated by race.”

Id. at 7. Plaintiff never claims to have any intention of undertaking these “extreme practices.” Nor do

the guidance documents prohibit “cultural and heritage programming that supports and affirms Black

students” or prevent students from “learn[ing] about the history of this country, or … celebrat[ing]

their culture and heritage.” Mot. at 8, 45. They identify conduct that deprive students of equal educa-

tion opportunities by treating students differently based on race.

        Plaintiff expresses concerns about the guidance documents’ discussion of the use of proxies

for race, arguing that it could be read to forbid eliminating “application fees that dissuade economically

disadvantaged students from applying.” Mot. at 22-23. But the guidance makes clear that schools are

free to promote diversity with regard to socioeconomic status; the guidance discusses the use of prox-

ies for race to ensure that the prohibition on race discrimination in education is not circumvented.

Letter at 3; FAQ at 4. Nothing in the guidance would support the notion that eliminating “application

fees that dissuade economically disadvantaged students from applying” would somehow constitute

racial discrimination if motivated by a desire to provide more opportunity to students of all races from

impecunious backgrounds. Mot. at 23. The guidance also repeats the Supreme Court’s holding on

essays: “‘[N]othing prohibits universities from considering an applicant’s discussion of how race af-

fected the applicant’s life, so long as that discussion is concretely tied to a quality of character or unique

ability that the particular applicant can contribute to the university.’” FAQ at 8 (quoting SFFA, 600



                                                     11
      Case 1:25-cv-01120-DLF            Document 29         Filed 04/23/25       Page 15 of 22




U.S. at 230). Schools “‘may not simply establish through application essays or other means the regime

we hold unlawful today’” because “‘[w]hat cannot be done directly cannot be done indirectly.’” Id.

(quoting SFFA, 600 U.S. at 230).

        Plaintiff claims that the guidance documents are similar to laws prohibiting teaching or dis-

cussing certain concepts at a university. See Mot. at 21. But the guidance documents make clear that

mere discussions of issues of race—especially at a university—will not be unlawful. FAQ at 7. It is the

“extreme” practices that the guidance documents call out as troubling, such as “accus[ing] [elementary

school students] of being oppressors in a racial hierarchy” or “ascrib[ing] to them less value as con-

tributors to class discussions because of their race.” FAQ at 6-7. Again, however, “[i]n all cases, the

facts and circumstances of the discussion or activity will dictate the answer to that inquiry.” Id. at 7.

Moreover, Title VI prohibits only “discrimination,” and it does not violate the First Amendment to

punish speech incident to unlawful conduct. “Where the government does not target conduct on the

basis of its expressive content, acts are not shielded from regulation merely because they express a

discriminatory idea or philosophy.” R.A.V. v. City of St. Paul, 505 U.S. 377, 390 (1992). Instead, even

when an action is clearly expressive, “it has never been deemed an abridgment of freedom of speech

... to make a course of conduct illegal” because some speech might be caught up in the ban. Rumsfeld

v. FAIR, 547 U.S. 47, 62 (2006) (cleaned up). To take an example from the employment context, a

ban on discrimination in hiring regulates conduct, not speech, even though it “will require an employer

to take down a sign reading ‘White Applicants Only.’” Id.

        Indeed, instead of threatening protected speech, the Department goes out of its way to discuss

the importance of free speech, which is threatened when schools apply double standards based on race.

The FAQ explains that “schools must not discriminate against students based on race in how they

discipline or sanction students in response to complaints or allegations of harassment, or in response

to speech that would be protected under the First Amendment, whether through use of ‘bias response



                                                   12
       Case 1:25-cv-01120-DLF              Document 29         Filed 04/23/25        Page 16 of 22




teams,’ mandatory trainings, or compelled statements.” FAQ at 7. The guidance thus discusses the

rights of students of all races to speak their minds and to be free from being forced to express ideas

that degrade themselves or others based on race. See Janus v. AFSCME, 585 U.S. 878, 893 (2018)

(“When speech is compelled, … individuals are coerced into betraying their convictions. Forcing free

and independent individuals to endorse ideas they find objectionable is always demeaning.”).

        Plaintiff expresses particular concern about the Department’s criticisms of recent educational

teaching regarding race. See Letter at 2 (“Educational institutions have toxically indoctrinated students

with the false premise that the United States is built upon ‘systemic and structural racism’ and ad-

vanced discriminatory policies and practices”). Plaintiff argues that these statements will chill teachers

from addressing certain controversial topics related to race in their classroom. See Mot. at 3, 10. But

Plaintiff ignores the rest of the Letter and the FAQ, where the Department provides its legal guidance

on when educational practices violate Title VI and the Equal Protection Clause. To the extent the

Department is expressing its own viewpoint on curriculum, it is free to have one. “The Free Speech

Clause restricts government regulation of private speech; it does not regulate government speech.”

Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 467 (2009). Indeed, judges have long been critical of

these types of race-based practices. See, e.g., Grutter v. Bollinger, 539 U.S. 306, 349 (2003) (Scalia, J.,

concurring in part and dissenting in part) (criticizing “universities that talk the talk of multiculturalism

and racial diversity in the courts but walk the walk of tribalism and racial segregation on their cam-

puses—through minority-only student organizations, separate minority housing opportunities, sepa-

rate minority student centers, even separate minority-only graduation ceremonies”).

IV.     The guidance does not violate the Constitution’s guarantee of equal protection.
        Plaintiff is also wrong that the guidance violates the Fifth Amendment’s guarantee of equal

protection. Plaintiff argues that “[t]he Letter ‘distributes burdens or benefits on the basis of individual

racial classifications.’” Mot. at 22 (quoting Parents Involved in Community Schools. v. Seattle School District



                                                      13
      Case 1:25-cv-01120-DLF             Document 29         Filed 04/23/25       Page 17 of 22




No. 1, 551 U.S. 701, 720 (2007)). But the Letter (which does not have the force of law, as Defendants

explain) makes no racial classifications at all, and nowhere gives persons of one race a benefit or

burden not given to persons of another race. On the contrary, the Letter seeks to prevent schools from

classifying students based on race.

        Plaintiff argues that the Letter’s concern about discrimination against whites and Asians shows

discriminatory intent against blacks. See Mot. at 22. But the Letter nowhere states that its concern

about racial discrimination is limited only to whites and Asians; the guidance is concerned with all racial

discrimination. Moreover, Students for Fair Admissions declared unconstitutional the pervasive discrim-

ination against whites and Asians practiced by Harvard and the University of North Carolina. See

SFFA, 600 U.S. at 218 (“Harvard’s consideration of race has led to an 11.1% decrease in the number

of Asian-Americans admitted to Harvard.”); id. at 273 (Thomas, J., concurring) (“Given the history of

discrimination against Asian Americans, especially their history with segregated schools, it seems par-

ticularly incongruous to suggest that a past history of segregationist policies toward blacks should be

remedied at the expense of Asian American college applicants.”); id. at 293 (noting that “[p]aid advi-

sors” had been “tell[ing] high school students of Asian descent to downplay their heritage to maximize

their odds of admission”); id. at 302 (Gorsuch, J., concurring) (explaining that there is “no doubt” that

the admissions programs of Harvard and the University of North Carolina were disadvantaging white

and Asian applicants based on race). To recognize that the discrimination practiced by “American

educational institutions” has “includ[ed]” discrimination against “white and Asian students” is thus in

full accord with the Supreme Court’s decision, and does not manifest an intent to discriminate against

black students. Letter at 1.

        Discussing the prohibition on racial discrimination as pronounced by the Supreme Court can-

not be a manifestation of discriminatory intent. Indeed, nearly a decade before Students for Fair Admis-




                                                    14
       Case 1:25-cv-01120-DLF             Document 29          Filed 04/23/25        Page 18 of 22




sions invalidated the discriminatory admissions programs of Harvard and the University of North Car-

olina, the Supreme Court held that a Michigan ban on racial preferences in government employment,

education, and contracting was constitutional. See Schuette v. BAMN, 572 U.S. 291 (2014). As Justice

Scalia explained, “[t]he Equal Protection Clause of the Fourteenth Amendment [does not] forbid what

its text plainly requires.” Id. at 316 (Scalia, J., concurring in the judgment). Thus, eliminating racial dis-

crimination vindicates, not violates, the Constitution’s guarantee of equal protection.

        Plaintiff also contends that the guidance denies black students “an opportunity to learn” about

historical racial discrimination against blacks. Mot. at 22. But that again rests on the false proposition

that the guidance prohibits teaching such history. It does not. See FAQ at 6 (noting that the Depart-

ment cannot “exercis[e] control over the content of school curricula”).

        Plaintiff claims that the guidance “evince[s] racially discriminatory intent by trafficking in per-

nicious stereotypes about Black intellectual and moral inferiority.” Mot. at 24. As the only basis for

this extraordinary claim, Plaintiff argues that terms like “racial preferences” and “racial balancing” are

“pejorative dog whistles [used] to impugn the qualifications, competence, talents, and ethics of Black

students as well as Black people generally.” Mot. at 24. But far from being a “dog whistl[e],” the use

of the terms “racial preferences” and “racial balancing” in the guidance is entirely unsurprising given

that Students for Fair Admissions uses both terms and prohibits both practices. See SFFA, 600 U.S. at

223 (“Outright racial balancing is patently unconstitutional.”) (cleaned up); id. at 228 (rejecting the

notion that a “permanent justification for racial preferences” should be enshrined) (cleaned up).

        The Department’s recognition that some schools continue to illegally use racial preferences

also does not “furthe[r] the slander that alleges that Black students lack the talent or work ethic to

have earned their achievements on their own.” Mot. at 25. Eliminating racial discrimination in educa-

tion ensures that students are judged on their individual merits, and that no student either earns or is




                                                     15
      Case 1:25-cv-01120-DLF             Document 29         Filed 04/23/25       Page 19 of 22




denied an achievement based on skin color. See SFFA, 600 U.S. at 223 (“At the heart of the Consti-

tution’s guarantee of equal protection lies the simple command that the Government must treat citi-

zens as individuals, not as simply components of a racial, religious, sexual or national class.”) (cleaned

up); id. at 231 (rejecting the notion that “the touchstone of an individual’s identity is not challenges

bested, skills built, or lessons learned but the color of their skin”); see also Schuette, 572 U.S. at 315

(Roberts, C.J., concurring) (explaining “that racial preferences may themselves have the debilitating

effect” of reinforcing a person’s feeling that he or she does not belong). The guidance correctly notes

the Supreme Court’s “emphasi[s] that students must be treated based on their experiences as individ-

uals and not based on their race.” FAQ at 2 (citing SFFA, 600 U.S. at 206). To uphold that important

principle is to oppose racism, not to further it.

                                            *       *       *

        The Department’s guidance documents are not vague or arbitrary documents that will trample

on the First Amendment rights of Americans in schools. The enforcement of civil rights in schools is

fully consistent with the right of free speech, and nothing in the Letter or FAQ creates an objectively

reasonable basis for schools or teachers to fear that the constitutionally protected expression of con-

troversial viewpoints will cause them to lose federal funding or face discipline. Rather, the guidance

accurately reflects the requirements of the Equal Protection Clause and Title VI both before and after

the Supreme Court’s decision in Students for Fair Admissions, and promotes rather than undermines the

Constitution’s guarantee of equal protection.

                                           CONCLUSION

        For these reasons, the Court should deny Plaintiff’s motion for preliminary injunction.




                                                    16
Case 1:25-cv-01120-DLF   Document 29      Filed 04/23/25         Page 20 of 22




 Dated: April 23, 2025                 Respectfully submitted,

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                                17
      Case 1:25-cv-01120-DLF          Document 29        Filed 04/23/25      Page 21 of 22




                               CERTIFICATE OF COMPLIANCE
       I hereby certify that this brief complies with Local Rule 5.1(d) and Local Rule 7(o)(4) and is

prepared in a double-spaced format using 12-point Garamond font.

          Dated: April 23, 2025
                                                          J. Michael Connolly
                                                          Counsel for Students for Fair Admissions




                                                18
      Case 1:25-cv-01120-DLF             Document 29    Filed 04/23/25     Page 22 of 22




                                  CERTIFICATE OF SERVICE
        On April 23, 2025, I e-filed this motion and its attachments with the Court via ECF, which

will email everyone requiring service.

        Dated: April 23, 2025
                                                         J. Michael Connolly
                                                         Counsel for Students for Fair Admissions




                                                19
